Case 9:13-cv-80567-DMM Document 141 Entered on FLSD Docket 02/26/2014 Page 1 of 1



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                CaseNe.13-#0567-CIV-M IDDLEBROOKS

 ZENITH ELECTRONICS LLC,etal.,

         Plaintiffs,

  VS.

  CRAIG ELECTRONICS INC.,

         Defendant.
                                              /
                        ORDER REOUIRING JOINT STIPULATION OF DISM ISSAL
         THIS CAUSE comes before the Courtupon Noticeby PlaintiffsZenith ElectronicsLLC,Panasonic

  Com oration,U.S.PhilipsCorporation,and theTrusteesofColumbia University in the City ofNew York and

  DefendantCraigElectronicslnc.(collectively,thediparties'')ofSettlementbetweenthePatentOwnersandCraig
  Electronicslnc.($(Notice'')(DE l38)fledonFebruary2l,20l4,infonningtheCourtthatthePartieshavesettled

  allclaimsbetween them.
          TheCourtcongratulatesthePartiesonamicablyresolvingthismatter.However,untilajointstipulation
   ofdismissalpursuantto FederalRuleofCivilProcedure41isflled withtheCourt,a11previously imposed dates

   anddeadlinesremainin effect.lntheirN otice,thePartiesstatedthatthey shallsubm itaform ofdismissalwithin

   seven daysoftheirNotice.Accordingly,isithereby
           ORDERED AND ADJUDGED thatthePartiesshallfileaJointStipulation ofDismissalonorbefore

   February 28,2014.
          DONE AND ORDERED in ChambersatW estPalm each,Flor'a,this                   day ofFebruary,2014.




                                                        LD M .M IDDLEBROOKS
                                                   UNITED STATES DISTRICT COURT
    Copiesto:          CounselofRecord
